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                       TRANSFERS TO CENTRO PSICOLOGICO DEL SUR ESTE P.S.C.
                                     Date              Payment Amount
                                  5/16/2013               $357,145.00
                                  5/28/2013                $21,097.00
                                  6/12/2013                $92,655.00
                                  6/25/2013                $17,996.00
                                  6/27/2013               $235,957.00
                                  7/16/2013                $23,446.00
                                  7/16/2013                $25,464.00
                                  7/16/2013               $143,545.00
                                  8/5/2013                 $11,416.00
                                  8/16/2013                $19,735.00
                                  9/3/2013                $112,946.00
                                  9/6/2013                 $14,267.00
                                  9/11/2013               $117,858.00
                                  9/12/2013               $137,770.00
                                  9/17/2013                $42,557.00
                                  9/17/2013               $300,173.00
                                  9/19/2013               $348,195.00
                                  10/1/2013                $36,678.00
                                  10/1/2013                   $171.00
                                  10/9/2013                $12,424.00
                                 10/16/2013               $312,276.00
                                  11/4/2013                 $4,402.00
                                  11/7/2013                $19,012.00
                                  11/7/2013                $23,075.00
                                 11/13/2013                $11,895.00
                                 11/18/2013                $11,177.00
                                  12/3/2013                $59,344.00
                                 12/20/2013                 $9,114.00
                                 12/20/2013                $19,038.00
                                 12/23/2013                 $3,450.00
                                 12/23/2013                 $9,754.00
                                 12/23/2013                $23,108.00
                                 12/23/2013                $24,350.00
                                 12/23/2013               $127,813.00
                                 12/30/2013                $18,011.00
                                  1/6/2014                $305,676.00
                                  1/9/2014                $380,788.00
                                  1/21/2014                $73,908.00
                                  1/30/2014               $155,071.00
                                  2/10/2014               $298,013.00
                                  2/20/2014               $197,050.00
                                  2/26/2014                $18,395.00
                                  2/28/2014                $14,672.00
                                  3/4/2014                 $13,960.00
                                  3/4/2014                 $17,166.00
                                  3/12/2014               $114,993.00

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                       TRANSFERS TO CENTRO PSICOLOGICO DEL SUR ESTE P.S.C.
                                     Date              Payment Amount
                                  3/19/2014                 $9,545.00
                                  3/26/2014                $11,404.00
                                  3/26/2014               $185,833.00
                                  4/8/2014                 $76,615.00
                                  4/22/2014                $21,428.00
                                  4/22/2014                $81,943.00
                                  5/1/2014                $365,803.00
                                  5/7/2014                 $21,862.00
                                  5/12/2014               $146,119.00
                                  6/5/2014                 $26,324.00
                                  6/5/2014                 $27,148.00
                                  6/26/2014                $23,423.00
                                  7/8/2014                 $22,351.00
                                  7/9/2014                $159,128.00
                                  7/15/2014               $397,628.00
                                  7/25/2014               $142,720.00
                                  8/4/2014                $355,011.00
                                  8/4/2014                  $1,162.00
                                  8/8/2014                 $19,131.00
                                  8/18/2014                $16,281.00
                                  8/21/2014               $119,832.00
                                  8/21/2014               $251,736.00
                                  9/9/2014                  $9,264.00
                                  10/6/2014                $37,989.00
                                 10/10/2014                $53,160.00
                                  11/3/2014                   $252.00
                                 11/18/2014               $178,154.00
                                 11/25/2014                 $6,550.00
                                  12/4/2014                $17,172.00
                                 12/24/2014                $12,203.00
                                 12/26/2014                $17,106.00
                                 12/26/2014               $341,345.00
                                 12/30/2014                $69,557.00
                                  1/21/2015                $23,040.00
                                  1/21/2015               $340,803.00
                                  1/30/2015               $157,592.00
                                  2/3/2015                 $23,377.00
                                  2/23/2015                $19,219.00
                                  2/23/2015               $275,421.00
                                  2/24/2015                $14,950.00
                                  2/24/2015                $16,550.00
                                  2/27/2015               $163,946.00
                                  3/3/2015                $219,115.00
                                  3/6/2015                 $12,059.00
                                  3/17/2015               $126,217.00
                                  4/10/2015               $202,999.00

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                       TRANSFERS TO CENTRO PSICOLOGICO DEL SUR ESTE P.S.C.
                                     Date              Payment Amount
                                  4/15/2015                 $9,750.00
                                  4/16/2015               $103,875.00
                                  4/20/2015                $12,378.00
                                  5/14/2015                $19,352.00
                                  5/18/2015                $16,238.00
                                  5/19/2015                $76,971.00
                                  5/27/2015               $329,459.00
                                  7/14/2015                $18,057.00
                                  7/14/2015                $24,048.00
                                  7/21/2015               $350,030.00
                                  8/11/2015               $133,893.00
                                  8/11/2015                $11,774.00
                                  8/13/2015               $153,815.00
                                  8/13/2015                $20,386.00
                                  8/18/2015                $10,586.00
                                  8/18/2015               $298,616.00
                                  9/3/2015                $134,408.00
                                  9/10/2015                 $6,166.00
                                  9/22/2015               $170,757.00
                                 10/19/2015                $10,926.00
                                 10/19/2015                 $4,192.00
                                 10/20/2015                $99,789.00
                                  11/2/2015                $18,608.00
                                  11/2/2015                   $326.00
                                 11/10/2015                $84,403.00
                                 11/25/2015                $28,763.00
                                  12/4/2015                 $5,060.00
                                 12/10/2015               $266,780.00
                                 12/15/2015                $11,236.00
                                 12/15/2015                $20,873.00
                                 12/28/2015                 $9,618.00
                                 12/29/2015               $116,002.00
                                  1/12/2016                $19,369.00
                                  1/12/2016                $10,442.00
                                  1/25/2016               $134,217.00
                                  1/25/2016               $266,839.00
                                  3/18/2016               $107,510.00
                                  3/22/2016                $17,221.00
                                  3/29/2016                 $6,764.00
                                  4/5/2016                 $10,219.00
                                  4/6/2016                $206,817.00
                                  4/8/2016                $153,337.00
                                  5/5/2016                  $7,719.00
                                  5/5/2016                  $3,907.00
                                  5/5/2016                  $5,951.00
                                  5/9/2016                 $70,225.00

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                       TRANSFERS TO CENTRO PSICOLOGICO DEL SUR ESTE P.S.C.
                                     Date              Payment Amount
                                  5/10/2016               $148,232.00
                                  5/12/2016                $63,985.00
                                  5/12/2016                $15,768.00
                                  5/18/2016                $10,220.00
                                  5/18/2016                $13,613.00
                                  5/18/2016               $260,564.00
                                  5/23/2016               $132,975.00
                                  6/1/2016                  $8,559.00
                                  6/6/2016                $229,481.00
                                  6/23/2016               $122,303.00
                                  7/7/2016                 $10,087.00
                                  7/8/2016                 $13,915.00
                                  8/9/2016                $234,131.00
                                  8/10/2016               $127,212.00
                                  8/19/2016                 $5,072.00
                                  8/30/2016                 $6,165.00
                                  9/21/2016                 $7,485.00
                                  9/21/2016                 $1,842.00
                                  9/21/2016                   $523.00
                                  10/3/2016               $107,853.00
                                  10/7/2016                $61,995.00
                                 10/12/2016                 $4,364.00
                                  11/9/2016               $129,155.00
                                 11/21/2016                 $7,465.00
                                 11/29/2016                $62,594.00
                                  12/5/2016               $199,557.00
                                  12/6/2016                 $7,496.00
                                  12/9/2016                $12,313.00
                                 12/19/2016               $107,901.00
                                 12/22/2016                 $7,966.00
                                  1/3/2017                $108,038.00
                                  1/3/2017                 $11,875.00
                                  1/31/2017               $209,371.00
                                  2/2/2017                  $6,387.00
                                  2/3/2017                 $91,930.00
                                  2/3/2017                $178,600.00
                                  2/27/2017               $113,019.00
                                  2/28/2017                 $3,825.00
                                  3/3/2017                  $7,875.00
                                  3/31/2017                 $7,818.00
                                  4/6/2017                  $5,053.00
                                  4/7/2017                 $58,416.00
                                  4/19/2017               $116,718.00
                                  4/20/2017                 $7,684.00
                                  4/28/2017               $271,580.00
                                  5/1/2017                 $16,875.00

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